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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X               11/3/2020
                                                                       :
ISABEL LITOVICH, on behalf of herself and all others :
similarly situated,                                                    :
                                                                       :
                                    Plaintiffs,                        :      20-cv-3154 (LJL)
                                                                       :
                  -v-                                                  :          ORDER
                                                                       :
BANK OF AMERICA CORPORATION, et al.,                                   :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        The Complaint in this case was filed on April 21, 2020. Dkt. No. 1. Defendants filed a

motion to dismiss on September 10, 2020, following a letter indicating their intent to do so. Dkt.

Nos. 70, 116. Plaintiff timely filed its Amended Complaint on October 29, 2020. Dkt. No. 128.

        Pursuant to Paragraph 3(C) of the Court’s Individual Rules of Practice in Civil Cases, the

previously-filed Motion to Dismiss is DENIED as MOOT. The Clerk of Court is respectfully

directed to close Dkt. No. 116.


        SO ORDERED.


Dated: November 3, 2020                                    __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
